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- James Browning

From:

Sent:

To:

Subject:
Attachments:

Judge Browning -

Please see the attached letter.

Thank you.

John Paul Jones
505-823-2015

John Jones <abutaza@gmail.com>

Friday, August 7, 2020 5:24 PM

NMDml_fudge Browning's Chambers nmd.uscourts.gov

Letter for Judge Browning

Browning, US District Judge, ABQ, COVID-19 and Law Enforcement misconduct.doc

Re. os WI1- SB-SHR
19 CR BUS-SE

 

 

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John Paul Jones
3707 Big Bend Rd.
Albuquerque, NM 87111
(505)-823-2015
August 07, 2020

US District Judge James O. Browning
United State District Court
333 Lomas Blvd. NW Suite 740 RE: COVID-19 and the next 500,000, plus

Albuquerque, NM, 87102 CV-19-00477 JB/JHR
Egregious misconduct at the CDC
Egregious misconduct within US Attorney’s office,

Dear Judge Browning:

The on-going COVID-19 pandemic is the most catastrophic event of our lives. In less than half a
year at least 230,000 Americans have died due to the virus. Today, at the CDC website, the
“official” number of Americans who have died directly from the virus is more than 161,000. At
the Washington Post website, based on the data from John Hopkins, the figure is 156,000. To
each number should be added at least 35,000, due to “undercounting,” that is, those who died,
had the virus, but were never tested, an issue acknowledged by Dr. Fauci, as well as others.
Furthermore, there are at least 35,000 others, often labeled “shadow deaths,” those who died
from other causes, such as suicide, in excess of historical norms. Such devastating numbers
need at least one human face, for example that of Landon Fuller, an 11-year old from Hobbs,
New Mexico, who “loved to make people Jaugh,” per the ABQ Journal article, which describes
the circumstances surrounding his suicide because, as his diary stated: “I’m going mad staying
at home all the time, and not being able to go to school and play outside with my friends ...,’”

And the prognosis? Very few will venture how this pandemic wiil finally end. Dr. Birx, of the
White House Task Force, once proposed an estimate of 200,000 American dead, with the
caveat “if we do everything perfectly,” a figure we have now exceeded because we did not do
everything “perfectly,” a large understatement. The Imperial College in London once estimated
that there would be over two million American dead, “if we do nothing.” No one yet, to the
best of my knowledge, has posited a figure based on “if we aid and abet the virus.” I'll let you
decide which scenario best describes our current situation. For the past few years Bill Gates has
estimated that the next pandemic, that is, now, this one, might kill 30 million worldwide. To his
credit, he criticizes himself, for not raising a strong alarm several years ago, and for not doing
enough to avert this tragedy.

Each of us needs to ask what we are currently doing to reduce the final death toll, a number
that may not be determined in our lifetimes.

 
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Consider Assistant United States Attorney Michael H. Hoses. Purportedly we are a nation
governed by laws. The United States Attorney's office has a large cadre of individuals working
to enforce our laws. They have arrested and will prosecute individuals who break our laws,
from felons who carry fire arms and illegal drug sellers, the “kingpins,” like Robert Corbin
Padilla of Las Vegas, NM, who supply the substances that have killed so many, to “suardians”
who steal money from the proverbial blind man’s tin cup and on to religious authorities who
place their penises in the mouths of nine-year-olds and tell them this is how God delivers his
sanctifying grace to their immortal soul. A daily staple of the office’s work is dealing with and
prosecuting some of the worst of the worst of our society, the most immoral/amora!, and yes,
lawless elements.

But what happens when it is certain individuals in a Federal Agency who are in open violation of
the law, admit it and even flaunt their wrongdoing? In 2015, when | filed my first case in Federal
Court in Albuquerque concerning the Department of Health and Human Services’ (HHS)
admitted policy of refusing to hire or deploy anyone over the age of 59 as a Public Health
Advisor overseas, in conjunction with HHS’s signed agreement with the World Heaith
Organization (WHO), it should have taken Michael H. Hoses no more than 15 minutes to
conclude that he would not defend this wrongdoing, this flagrant violation of the law that is
also incredibly stupid, since it deprives these agencies of some of the very best people in terms
of knowledge, experience and work ethic. Indeed, a simple phone call to a senior hiring
authority at the CDC, Carla Boudreau, would have confirmed the existence of this illegal
agreement. He could have obtained a copy of this agreement. He could have concluded that he
would not waste his time nor that of the US Attorney’s office, when there were so many other
more pressing matters. Defending clearly illegal discrimination should have been ended many
years ago by the EEOC but it has adamantly failed to even address, and certainly has not
resolved the matter of this illegal agreement.

But Michael H. Hoses chose a very different path in the woods, one that is regrettably
frequently traveled, as the legal adage has it: when neither the law nor the facts are on your
side, attack the Plaintiff! And he has relentlessly attacked me, “on steroids” even, for over five
years, including sending armed law enforcement to my home, and having them seek entry
under completely false pretext, all in an effort to have me withdraw my legal actions. | have
been threatened with arrest if | continue and law enforcement has threatened to go after my
wife and daughter. In fact, 1 am “under orders” from the New Mexico State Police not to write
this very letter. In the United States of America. Dealing with Hoses for five years is certainly
one version of “cruel and unusual punishment.” What, precisely | am being punished for is the
open question.

 
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Mr. Hoses derives the ethos for his legal actions not from what should be appropriate conduct
for a lawyer in the Federal courthouse, but rather from the gym that is located two blocks east
of the Federal Courthouse, on Lomas:

 

To obtain insight into the character of Michael H. Hoses, it is most instructive to simply look at
his own words. Please consider the following, the introduction to his filing of August 10, 2016,
in case 1:15cv00594-JAP-LF:

it is an unusual individual whe enjoys having his deposition taken. Depositions are even more
difficult when the party is pro se, and as the subject deposition demonstrates, Is ill prepared
to. pursue his claims. Having made the choice to pursue his claims pro se, during the
deposition, Plaintiff was both acting as his own representative and was also. the deponent.
Plaintiff was responsible for defending himself in the deposition. It is not the responsibility of
the United States.to coddle the Plaintiff.

No other government attorney, and regrettably | have dealt with fifty or more, has ever
described themselves as “the United States.” And the “United States,” also known as Michael H.
Hoses, does not “coddle.” He loves to emulate the posturing of “I’m Mr. Tough Guy,” James
Cagney, with complementary accent. He leads with his strongest argument, as he was taught in
law school, the slur, two Latin words, Pro Se, which he hangs as five scarlet letters around my
neck that proclaim: not only does this person have no legal rights, he has no right to a lawful
process, has no right to appear before a judge, no rights to discovery or the taking of a
deposition. He has no right to decent treatment and civility. He is “unwashed,” a dalit, which is
why Michael Hoses refused to shake my hand at the end of the deposition. Most ominously, he
proclaims that | must “defend myself.” From what? | should not even be in Court, wasting my
time at all, when my taxes are paying employees of three different Federal Agencies, the
Department of Health and Human Service, the Equal Employment Opportunity Commission and

 
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the Merit System Protection Board to ensure that American citizens are not discriminated
against, in employment, on the basis of age. Furthermore, it is a deep outrage that no one
seems concerned that such an agreement subordinates good American laws to the irrational
bigotry of a foreign entity. We continue to experience one of the devastating consequences of
such bigotry, as the pandemic continues to rage on, particularly in the United States, and a
portion of the reason is serious deficiencies within WHO. As to whom is “ill-prepared,” it was |
who had to remind Mr. Hoses, an attorney with 30 years, plus, of experience, what the law
actually states, on several occasions, including that age discrimination is a Prohibited Personnel
Practice, as defined by 5 USC § 2302, and furthermore, that he should acknowledge that my
legal rights, as a combat veteran, as defined by 5 USC § 3319, were determined to have been
violated, by a Court of law, in its final determination, in case DE-3330-10-0168-I-1.

But there is more, much more. How would 12 reasonable people view his “keynote remarks” to
me in his phone call of October, 2015?:

Why don’t you go fishin’, play.with the grandkids, you have no idea how rough this is
going to be for you.

He commenced with threats and menace since he knew he had no case. The above statements
are “undisputed facts” in Federal Court.

Next he would try his “Al Capone gamut”: get him on his income taxes. He wanted them; | said
NO. So then he asks his colleague of 19 years, former Assistant US Attorney Laura Fashing, to
order me to provide them. She dutifully complies. Two days after the order was issued, he is
again on the phone to me, with his usual Cagneyesque bravado:

Well, where are the returns... or are you goin’ defy the Judge’s order?

| told him | had just returned from the Post Office. Did he want the tracking number? He
declined. | never heard another word about my income tax returns, which were all filed
correctly and on time, and are a profound measure of the injury done to me and my family by
the systemic use of Prohibited Personnel Practices at HHS and on-going violation of my legal
rights, particularly those earned “the hard way,” as a combat veteran.

Next would be the deposition of June 20, 2016. No human being has ever so relentlessly
ridiculed, threatened or demeaned me as has Michael H. Hoses. From that seven and a half
hours, ’ll select the following as examples of how Mr. Hoses abuses the deposition process:

 
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(from page 82 of the deposition)

Hoses: Both of them were overseas

Jones: That is your statement of that.

Hoses: YOU’RE NOT TELLING THE TRUTH, MR JONES

Jones: / take exception to that. I’m telling you the truth

Hoses: No, No, you’re.not: She talked about two overseas positions. They were both
temporary.

Jones: Okay. | would have to go back and listen...

Hoses: Let me ask you this question...

jones: if! coutd finish, please. | would have to go back and listen to that. | take exception to
the fact that you're saying I’m not telling the truth. | am telling the truth... So, please don’t
say that I’m not telling the truth.

Hoses: You’ ‘re mistaken.

Hoses: They. were.

Jones: Weil, this is your assertion.

Hoses: No. J listened to the-tape.

Jones: And I’m not saying that you’re not telling the truth.

(from page 227 of the deposition):

at it. I looked at... 1 didn’t look at the questions. ‘But 1 Hooked at the narrative re heaving to do
with the resume. And: Lwas thinking... was thinking to myself, | would never ‘submit a
resume like this. Iti isso full of (S).:. you’ re so full of: yourself. And: that’s how. E think some
people might. have. looked at this and were put off by it. Is. that an explanation, @
nondiscriminatory explanation asto why. you weren't. moved on to the next. step?

Jones: No, because | don’t feel that’s actually a correct assessment. | think, if anything, / try
to understate my qualifications.

(the following mockery from page 0 259) |

coffee and chat? Eat cookies?

(the open-ended threat from page 150):

Hoses: Mr. Jones, you're going to be in for a rude awaking.
Jones: I know. You've been telling me this for a year.

Hoses: You think this is rough...

Admittedly, i felt that he was just “play acting” with his Cagney-routine, as though he was
trying out for a part in the local community theater. Of far greater concern, and what was
definitely not “playing acting” was when he realized his Cagney-routine was not working and
he could not bait me into an inappropriate response. He seemed to have a “meltdown,”

 

 
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demonstrating serious symptoms of mental instability. Please consider the following, from
the deposition, pages 198-99:

BG. And to be honest, | came away, you know, somewhat offended because | thought
you were trying to be a bully with him, and | thought you thought he was stupid. That’s the
impression that | thought you came away with. You thought he was stupid, right?

Jones: No. | do not feel the man is stupid.

What do you think: he is?

Jones: And | have consistently said that. The man has a master’s degree from...

: 7233: So what? So what?

Jones: Can / finish? He has a Master’s degree from Seton Hall University. | think the man...
and | have consistently said this...that the man is quite intelligent. | think he had a gun at his
head

 

 
 

 

bie 22: Had a what?

Jones: A gun at his head, a proverbial metaphorical gun at his head that said if you do nat
testify...

ee. Ok?. Well that’s a theory you have, right?

Jones: Yes.

: So we can — tell me — tell me — tell me — tell me

Jones: Because I’ve read passage after passage, (from my application), which you say, which
your impression is, is that | was trying to bully him. | wasn’t trying to bully him.

: You weren't trying. You were.

Jones: Well, | disagree with that...

7]. I’ve heard these stories. I've heard this already.

 

 

 

 
 

As a United States government employee, based on their very special request (| was drafted), in
the United States Army, | was authorized, and circumstances forced me to make the decision
{along with another medic} to sedate our commanding officer, a medical doctor, with an
injection of Thorazine, and call in a dust-off helicopter for medical evacuation. |

When I saw Mr. Hoses’ face, contorted with rage, leaning across the conference table, yelling his
“tell me- tell me- tell me- tell me” (and | do think the stenographer missed a couple “tell me”s), |
felt that he needed an injection of Thorazine to settle him down. But { am no longer authorized
to make such a decision, nor do | carry the drug. The proximate cause of my commanding
officer’s mental incident was PAVN 122 mm rockets pounding us at the besieged Special Forces
camp at Polei Klang in March, 1969. The proximate cause of Mr. Hoses’ mental incident
appeared to be his inability to bait an unwashed pro se/dalit into an inappropriate response.

 
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During the teleconference of early July, 2016, | raised the issue of Hoses’ misconduct with whom
i would eventually find out to have been his former colleague of 19 years, former AUSA Laura
Fashing. She was brusque, exceedingly rude and arrogantly told me: “I do not have time to hear
your complaint, put it in writing.” | promptly did, and filed a detailed complaint on July 15, 2016.
Based on the relationship | would eventually determine, it should be no surprise that she did
absolutely nothing for two and a half months, eventually ruling the complaint was “moot,” and
stating that his conduct did not “rise to the bar of bad faith misconduct.” Covering for a friend,
she did. Why, oh why did she not recuse herself from this case, given her relationship with Mr.
Hoses?

When | appealed this case to the 10" Circuit, | would receive a battery of harassing phone calls
from Hoses, who must have been brooding in his office over his luck of encountering a pro
se/dalit who not only would want to read the deposition, but actually obtain a copy of it,
providing anyone the ability to review not only his misconduct but also his legal competence. In
December 2016 Constance Kossally, an attorney for HHS, made an unsolicited phone call to my
home, offering me $100,000 and asking me how much more | would need to settle the matter of
the Agency’s wrongdoing. There was one stipulation: that | agree never to work for HHS. | did
not decline the offer, which is not subject to a confidentiality agreement, but simply requested
that we meet, with as many attorneys as she felt necessary (they had 11 attorneys at the
hearing in ABQ, in September, 2015). She refused to meet. Eventually Hoses would threaten her
into withdrawing the offer, which “didn’t look good,” in terms of an admission of wrongdoing, in
the matter before the 10* Circuit. She withdrew it, and for the first time ever, used email, so
that within hours Hoses could claim to the 10“ Circuit that no such offer existed.

Whew! Such tremendous effort to deny one highly qualified combat veteran his legal rights to
an appropriate job based on his 30 years of senior level public health experience. Experience this
country could certainly utilize now. The efforts of Mr. Hoses and others like him have already
cost the taxpayers $18 million. To what benefit? Meanwhile, Jerry Epstein was continuing to
host his parties at the Zorro ranch, an hour east of Albuquerque, the money was being stolen
out of the proverbial tin cups, the “sanctifying grace” was still being delivered, the opioid
epidemic rages on, as the charges against Robert Corbin Padilla were dropped by the US
Attorney’s office in the early 2000's, allowing him to sell drugs for another two decades and
Albuquerque continued in the very top ranks in terms of per capita murders and car thefts. Who
is willing to ask Mr. Hoses if his priorities are misplaced? Per the ABQ Journal, we know the
explanation, from Mr. Padilla, why the drug charges were dropped: “You have to know the right
people.” Why isn’t Mr. Hoses interested in finding out who “the right people” are in his own
office, and then telling the rest of us?

 

 

 

 
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But please recall Mr. Hoses’ open-ended threat, as indicated above:
Hoses: You think this is rough...

The open-ended threat became reality on June 23, 2017. Another beautiful sunny morning in
Albuquerque. It’s 8 am, the doorbell rings. A “rude awaking.” | am expecting an officer from
animal control since | had just been chased by a dog on my way back from swimming my laps.
Instead, there are two armed men, with their bullet proof vests, Jim Glisson and Mr. Henderson.
A quick flash of their I.D’s. Their manner is cordial and correct. They state that they are at my
home to clear up a “little misunderstanding” about the letters that | write. They request entry to
my home. “Sure, come on in,” | make the mistake of saying, and offer them coffee. “We’re both
veterans, you know,” Jim Glisson says, to establish a bit of rapport.

During the two plus hour session we had, Mr. Glisson informs me that they had “pulled
reconnaissance” on my home the evening before. One of their objectives was to determine “the
cleanliness of my home,” all part of their evaluation, you understand, so think twice about
leaving your breakfast dishes in the sink.

The crux of the matter was that some unspecified person felt that my letters might be a “threat
of violence against a Federal official.” | ask for specifics, and he shows me a letter that | had
written to NM Supreme Court Judge Nakamura, urging her to undertake her duties by
compelling the Disciplinary Board to conduct a full and proper investigation of Michael Hoses for
multiple violations of the Code of Ethics for attorneys in New Mexico. The last paragraph was
highlighted in yellow and stated:

“As noted after the latest shooting near DC, no Federal official should be subjected to threats. |
agree, Correspondingly, no Federal official should ever threaten someone who has done
absolutely nothing wrong, but has, in fact, done many things right in his life, including
undertaking actions to end illegal age discrimination.”

Stunned, | ask Glisson how that could possibly be construed as a threat of violence. He does
seem to be a man with a conscious, perhaps one strong enough that he could be “flipped,” to
use one of those terms from law enforcement, for he could not make eye contact with me, but
rather lowered them, when he replied: “If you meant the opposite of what you said.” And they
party on at the Zorro ranch, suitable shorthand for the serious cases of wrongdoing in New
Mexico, like Padilla’s drug selling, that are simply not resolved while’ so many in law
enforcement as well as the Federal Agencies, seek to deny me my lawful rights.

 
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| thought it a bit bizarre that Glisson would ask me to describe Michael Hoses. When | raised
the issue of the symptoms of Hoses’ mental instability, he quickly retorted: “Hoses isn’t crazy, |
want to assure you.” Obviously such a statement begs the question how well Glisson knows
Hoses. But as | replied to Glisson: “I never said Hoses was ‘crazy,’ | simply recognized certain
symptoms, had the evidence to prove it, and recommended that he have an evaluation

performed by a professional.”

And when | raised the fact that Michael H. Hoses and Laura Fashing had been colleagues for 19
years, working in the same office, Glisson never even missed a beat. He had the prepared
answered: “You have to realize the US Attorney’s office is a very BIG office — they barely knew
each other.” How would Glisson know, save for the “prepared answers” given him in the

coaching session?

After the two plus hours, he seemed annoyed that he had been sent to see me. He said: “Look,
you are no threat to anyone.” He stated that he was “completing his form” (which | have, as
does the Federal Court), in which his official assessment of me places me in the lowest possible
“threat” category.

End of Story? NO. It is about to escalate a second magnitude, a much more dangerous
magnitude based on legal case history. Jim Glisson is back at my home, unannounced, at 6:30
pm (telemarketer time, for catching them at home) on the evening of July 11, 2017.
Fortunately, 1 am not at home, but with my wife and son at a restaurant having dinner. Glisson
leaves this agitated message on my phone recorder, saying he has to see me right away, as at 8
am, the following morning. | return his call, tell him that is not convenient, then agree to meet
him at the Federal Courthouse at 10 am. Suddenly | have again become the most important
assignment of his workday, while Padilla arranges another massive drug sale, What had
changed since his “you’re no threat to anyone” determination only three weeks earlier? That
question has never been answered. And | have repeatedly asked that question. In Federal
Court filings | have posited a theory that “life imitated art,” meaning that Glisson was ordered
to go back to my home, and “get results” this time, by Michael H. Hoses, in the fashion of the
Stasi agents in the movie “The Lives of Others.” |

 

What is not theory, however, are the statements made during the July 12, 2017 session in the
Federal Courthouse that lasted over three hours, and are Exhibit 03 in Federal Court in the
referenced case.

 

 
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The following is the order of Ms. Madrid, negating my rights under the First Amendment of the
Constitution. Her order, which is fully supported by NM Cabinet Secretary Mark Shea, is in

effect today:

4:57: Madrid: “we are not here to make progress... we are not here to play this game of, well, |
am going to get this and we’ll see how my actions will be after that, no, that is not what we are
here to do, OK, from this day forward you are on notice, | cannot be any more clear, that your
letters are threatening, they need to stop... the threats, they need to stop.” (Emphasis
added).

However, as was repeatedly confirmed throughout the session, including the following,
Detective Madrid had never even read the letters!!

2:07:55 Madrid: “! did not read your letter, sir”
2:57:20 Madrid: “/ do not believe you are going to stop with the threatening letters.”

It could not be “more clear...” to use Ms. Madrid’s formulation, that her order to me to stop my
valid, temperate complaints involving the egregious crimes and misconduct of Federal officials,
from reaching proper law enforcement officials, violates several provisions of 18 USC § 1512. If
Ms. Madrid had been my employee, | would have fired her long ago for making a specific
“determination” that | was writing “threatening letters” even though she admits to never
reading them.

The following section is truly remarkable and indicates a key purpose to the entire session. Mr.
Glisson and Ms. Madrid are serving as a “cat’s paw” for Mr. Hoses, determining the extent to
which | possess the most damning evidence against Mr. Hoses: his own words.

2:18:22 Glisson: “..at some point we are going to be out of the picture and you are going to be
sitting in front of a judge explaining, and the judge ain’t going to want to hear about Mr. Hoses,
your interaction with him, none of your previous cases involving HHS, he or she will not want to
hear none of that... you said on the highlights, you took snapshots, you did not pay for the
actual transcripts, you took snapshots with your phone and then by your own memory...”

Jones: “1 did not say that...”

Glisson: “and then you filled in, the Court reporter filled in the blanks, OK...

Madrid: “Have you gone down and paid for and obtained a fully typed transcript?”

Glisson: “from the Court stenographer from that deposition?”

Jones: “I would not phrase it like that...”

 
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Madrid: “How do you have it?”
Jones: “I have it electronically.”
Madrid: “How did you obtain it?”

Jones: “/ obtained it from the Court stenographer.”

The above statement by Jim Glisson threatens me with arrest (you are going to be sitting in
front of a judge explaining, and the judge ain’t going to want to hear about Mr. Hoses,...”) if |
continue to peacefully seek redress and that too violates multiple provisions of 18 USC § 1512.

Of even greater concern than the threats of arrest of me are the threats to go after the women
in my family, in an effort to break me. Mary Miller Jones, my wife, and Paris Taza Jones, my
daughter, are both strong independent women and | am proud of them. But neither should be
subjected to abuse and threats, and my wife, in particular has been. Even in the “No Holds
Barred Fighting Gym” going after the women related to the Petitioner would be considered
going too far.

Michael H. Hoses ordered both Glisson and Madrid to “go after his women.” In the session of
July 12“, before | even had a chance to sit down, Glisson fulfilled his instructions from Hoses,
but was smart enough to do it before he turned on his own recording device, Mr. Glisson
demanded from me the cell phone number of my wife. However, he had not coordinated his
intentions with Ms. Madrid, whose recording device was on, and therefore you can listen to his
demand at minute 4 of the recording, which | have uploaded to Google Docs. (Note: | refused to
give him the number, but it is obvious they obtained it anyway.) Furthermore, when | went to
the US Marshal’s office in the Federal Courthouse to complain about Glisson’s actions, and, in
particular, his demand for my wife’s cell phone number, | could tell by the expression on their
faces that even they felt he had gone too far... though, naturally, they “closed ranks” to protect
the wrongdoing. Again, again and yet again, as the recording of Ms. Madrid proves, she would
remind me that I’d better “think of your daughter,” “think of your daughter,” with the clear
implication that she might get hurt if | continue peacefully seeking redress for the proven and
admitted violations of my rights, yet another “count,” proving another violation of 18 USC §
1512. Note: While | was able to obtain the one recording from the NM State Police, via my
FOIA request, the US Marshal Service has refused to supply me either recording undertaken by
Jim Glisson, even when | appealed their initial refusal, citing the exception that “someone’s life
might be threatened,” if it is released. Whose life, | continue to wonder?

 
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As mentioned above, when Glisson was unable to look me in the eyes when he made the
fallacious claim that they were in my home to determine “... if | have meant the opposite of
what | had written...” | realized there is at least a semblance of a conscious there. His concerns
about the “one bad apple” in his own service, who he would not trust on an operation further
resonated with my own experience in combat. But what seemed to frustrate him the most was
having done a tremendous amount of work on a given case, knowing that the individual was
absolutely guilty, and then seeing the person walk free, based on a “legal technicality.” A jury of
12 reasonable people would certainly wonder why Jim Glisson is not equally frustrated in
seeing one Federal Agency that is absolutely guilty of illegal age discrimination, and has
repeatedly confessed to their wrongdoing, continue to “walk free,” damaging their own
mission, based on even the most implausible and outrageous technicalities.

In case 1:15¢v00594-JAP-LF, Michael H. Hoses clumsily used his “sleight of hand” to have the
Courts focus on domestic public health advisor positions, which the WHO agreement does not
cover, while completely ignoring the overseas public health advisor positions, for which it does
cover, as he was all-too-well aware, as indicated on page 82 of the deposition, as cited above,
and which were part of the augmented case before the EEOC. No Judge, no Assistant US
Attorney, no HHS employee has ever been able to complete the following sentence: “The HHS-
WHO agreement, whereby individuals who are over the age of 59, will not be deployed
overseas as Public Health Advisors, solely because of their age, is legal because...”

“Judge” Erin Langenwalter. In my second case, 17-CV-970 KG/KK, | again sought to avoid some
“legal technicality” in order to have the Court focus on the true merit of the issue before it: the
illegal age discrimination, and furthermore, why the EEOC has failed to perform its duties. The
“legal strategy” of HHS, and its supporters in the US Attorney's office, is to short-circuit the
entire judicial process. They have been burnt too many times in the past by providing proper
discovery documents and by the answers of their witnesses. There is a deep-seated institutional
culture that an essential agency mission is to hire the weakly qualified or totally unqualified
friends and relatives of existing employees, as the Korn-Ferry report and the MSPB studies have
proven. Indeed, at the 4-day MSPB hearing in Albuquerque, in September, 2015, a serious
violation of the law occurred in virtually all 17 cases. In three cases, the hiring authority
admitted they hired who they had pre-selected, without even a nod to the lawful process. In a
fourth case, the HR person admitted she had committed perjury in her deposition. in a fifth
case, the HR person claimed | am not a veteran, despite acknowledging | had spent a year in
combat in Vietnam. And on and on. Some of the 11 lawyers openly coached their witnesses on
the stand, some with hand signals as to when to be “forgetful,” others simply shouted out the
answers to my questions, and then when | objected, claimed there had been an “echo” in the
room. After the September 2015 fiasco for HHS, “Never again,” was their decision. Thus, no

 
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right to discovery, no right to depositions, no standing before a judge. Why, oh why should the
US Attorney’s office in New Mexico elect to aid and abet this wrongdoing??

Indeed, in case 17-CV-970 KG/KK, AUSA Langenwalter decided she would be the authority in
the Courtroom, openly refusing to obey the person who has the title of judge, without
quotation marks, Judge Kirsten Khalsa. On December 04, 2017, Judge Khalsa issued a “plain
vanilla” scheduling order, which included the standard “meet and confer” requirement, which
Judge Browning had previously emphasized in State of New Mexico v. Valley Meat Co., LLC, 14-
cvi1000, USDCNM needed to be taken seriously, including, preferably, a face-to-face meeting
between the opposing sides. Eleven issues needed to be addressed under the “meet and
confer” requirement. The deadline was December 29, 2017, which is in bold in the order.
“ludge” Langenwalter refuses to comply with the order. Furthermore, she refused to comply
with the requirements for the completion of the “Joint Status Report.” | raised the issue of
“Judge” Langenwalter’s defiance with Judge Khalsa. On January 11 2018, Judge Khalsa issues
the following order to AUSA Langenwalter:

IT IS THEREFORE ORDERED that Defendant must show cause, in a written response to be
filed by Friday, January 19, 2018, why it failed to comply with the Court’s Amended
initial Scheduling Order or to otherwise timely seek relief from that Order.

“Judge” Langenwalter also refused to comply with the above order, deciding herself that none
of this is necessary. Once again, it is my “burden” to point out this defiance to Judge Khalsa.
Then it was my turn to have my jaw drop. Judge Khalsa quashes her own order to
Langenwalter, and threatens me that | should never bring the subject up again. Wow! Clearly
there should be an inversion of the quotation marks around “judge” in the above case when
Langenwalter can so easily take over the courtroom. Langenwalter’s defiance of legitimate
court orders and a lawful jegal process is a profound form of contumacy for the court. For Judge
Khalsa to tolerate Langenwalter’s defiance and misconduct is the profoundest form of self-

contumacy.

In former Assistant United States Attorney Sidney Powell's best-selling book, Licensed to Lie,
she stated that all too many AUSAs truly believe that they are, as the title indicates, “licensed to
lie” in Court. Furthermore, she stated that in some cases it would be the AUSA who would write
the decision, with the Judge simply being willing to sign off on it. Furthermore, as Powell wrote,
it was Federal Judge Emmet Sullivan (now on the Court of Appeals in DC} who became utterly
fed-up with Assistant US Attorneys lying to him that he requested that six of them be
investigated, which led to the suicide of AUSA Nicholas Marsh. Clearly 12 reasonable people
would wonder if it was actually Langenwalter who wrote the order quashing the previous

 
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order, and if it was Langenwalter who wrote the final decision in this case, which again failed,
completely, to address the core issue: the illegal discrimination imposed on American citizens
by WHO. And concerning my complaints to Judge Khaisa about the armed law enforcement
visits to my home, with their objective of intimidating me, she would rule that the 10" Circuit
had already addressed the matter in the previous case! Even though the armed visits occurred
after their ruling, as | indicated to her, It all smells of Langenwalter, and is a profound failure of
the proper function of the legal process in the Federal District Court of New Mexico.

In 1:19-cv-00477 JB-JER, the referenced case, | again raised the issue that absolutely no one is
willing to address, the continued threats and menace, originating from one person, AUSA
Michael H. Hoses. In my filing of July 01, 2019, requesting a meeting with the Court to address
these concerns, | said, in part, the following:

Of particular concern are the armed visits of law enforcement officials to the Petitioner’s home,
under completely boqus pretext, in order to attempt to stop the Petitioner from seeking his
lawful rights. These actions are more congruent with actions undertaken in some of the more
despotic regimes of the world and not in the United States of America. Inter alia, Petitioner has
been specifically ordered by NM State Police Detective Janice Madrid never to write another
letter of complaint, which no doubt would include this very filing. (Proof of that assertion is
contained in Exhibit 03).

In my August 28, 2019 filing, | again covered the outrageous and threatening misconduct that
originates from Michael H. Hoses, all because he knows he has no case. | remain particularly
concerned that he has decided to go after my wife and daughter. | said the following:

Of even greater concern than the threats of arrest of me are the threats to go after the women in
my family, in an effort to break me. Mary Miller Jones, my wife, and Paris Taza Jones, my
daughter, are both strong independent women and I am proud of them. But neither should be
subjected to abuse and threats, and my wife, in particular has been.

Neither Hoses nor Langenwalter disputed my assertions, which are supported by the hard
evidence, the exhibits before the Court, and therefore my assertions are now “undisputed
facts” in the Federal Court. Concerning the armed visits to my home, the entry of law
enforcement officials based upon false statements, the threats of arrest if | continue with my
legal actions from Jim Giisson, the order from the NM State Police not to write this very letter,
the harassing phone calls to my home, Judge Ritter is absolutely silent, thereby failing to
properly perform his judicial duties. His silence is accepted by Hoses and his minions as
approval. His silence is his own approval of Hoses’ criminal actions under 18 USC § 1512. He

 
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focuses on the fact that this is a criminal statute and | am not authorized to take actions related
to it, True. As it is the EEOC’s responsibility to ensure that HHS does not maintain and enforce a
policy of illegal age discrimination, not mine, it is the Court’s responsibility, not mine, to ensure
that individuals who appear before it are not threatened in an attempt to have them withdraw
the case, and those threats have been made against me and my family and are simply ignored.

Both Hoses and Langenwalter demonstrate the utmost contumacy for the legal process and the
Court by openly mocking the concept that the truth might matter, as Hoses did in the
deposition process (please see page 296, which is quoted below). Both Hoses and Langenwalter
have repeatedly lied in the legal process. In my filing of September 11, 2019, commencing on
page 28, under a section entitled “The lies of Michael H. Hoses and Erin Langenwalter and their
disregard for the law and the legal process” | selected five of the significant lies they have told
the Court, and provided specific quotes and references. | requested sanctions against them and
referral to the NM Supreme Court Disciplinary Board. Concerning all 11 points specified in this
section, Judge Ritter is absolutely silent, once again failing to perform his core duties. The lies,
and the defiance of legal orders, by both Hoses and Langenwalter receive de facto approval.
(Note: Judge Ritter addressed one issue, raised in another filing, concerning Langenwalter’s
claim there was not any direct evidence of discrimination, saying that this did not merit
sanctions but adroitly avoided all the issues that | raised that demonstrated they were more
than justified.} Again, an utter failure to perform judicial duties. His silence constitutes the
“rackless acts of omission” that the editor of Lancet, Richard Horton, condemns, as indicated

below.

And the core issue: Is the WHO-HHS agreement legal? Judge Ritter never provides an answer;
instead he shifts the issue and is willing to accept the lies of HR specialist Henderson, who has
never been deposed or cross-examined, because my right to do so has been consistently
denied, both before the EEOC as well as the Federal Court.

The COVID-19 Catastrophe

Prohibited Personnel Practices kill. | cannot be more blunt.

Richard Horton is the editor-in-chief of Lancet, the premier medical journal based in the United
Kingdom. He has just written a very timely “second draft” of history, an account of the first six
months of our collective response to the COVID pandemic. His work is entitled The COVID-19

 

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Catastrophe — What’s Gone Wrong and How to Stop it Happening Again. Sending our children
back to school is a very high item on the national agenda. Virtually nothing is being said about
sending the adults back to school. But each of us must learn more about the nature of this on-
going disaster. | urge you, as well as all other members of the Court and our political leadership
to read Horton’s work, as well as numerous other excellent works, such as David Quammens’
Spilfover.

The following is from the preface to Horton’s work:

At press conference after press conference, government ministers and their medical and scientific
advisors described the deaths of their neighbors as ‘unfortunate.’ But these were not unfortunate
deaths. They were not unlucky, inappropriate or even regrettable. Every death was evidence of
systemic government misconduct — reckless acts of omission that constituted breaches in the
duties of public office.

Mr. Hoses own outrageous misconduct transcends, by far, his abuse of me and his threats to go
after my wife and daughter. He openly embraces the Prohibited Personnel Practices routinely
used by HHS. He breaches his duties of public office, as well as his oath to uphold the
Constitution of the United States. Again, Mr. Hoses’ own words are instructive {and damning of
his own misconduct):

Page 192 of the deposition, Hoses acknowledges he know about the agreement which is illegal:
Hoses: | know that there’s an agreement between WHO and the CDC... dealing with this very
issue

Pages 278-279, a perfect description of a violation of 5 USC § 2302 (b){6), which defines one type
of Prohibited Personnel Practice:
Hoses: in fact, let me ask you. this. If you are. doing a: ‘pre-selection,. there is no need to.use the

certificate. at all. You just simply. cancel. the position, | cand you: slide the. person into the position
by lateral. transfer. You cancel. the vacancy. announcement, which ‘is. ‘what happened in this
case, ‘and then the position is subsequently filled by lateral transfer. That is what happened in
this case.

Page 281, his open embrace of wrongdoing:

Hoses: | don’t care if it is a Prohibited Personnel Practice.
Jones: / want to make sure that it is part of the deposition.
Hoses: It doesn’t matter.

Jones: Weil, fine, if you don’t feel it matters.

 
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Hoses: It doesn’t. It may be a Prohibited Personnel ‘matter, but it has nothing to do with age
discrimination. See, your testimony was that —

Jones: Well, age discrimination itself is a Prohibited Personnel Practice.

Hoses: Oh, I know.

Page 296 (concerning HR specialist Dale Martin):

Hoses: Yeah, that may make her out to be a liar, but it doesn’t necessarily make her out to be'a
discriminator, does it?

Jones: Okay, and again —

Hoses: Does it?

Jones: if does not necessarily --

Hoses: Right.

Jones: -- make her that.

Hoses: Right.

Jones: But it does maker her susceptible to being willing to utilize any illegal practice. And
generally those witnesses are not considered credible in a Federal Court. —

Hoses: Okay. And you really think credible is going to play a part-here? Is that what you —
Jones: Yes,I do. |

Hoses: Who told you that?

With such a tawdry track record, is Mr. Hoses capable of redemption, I wondered. With his
broken-record taunt: Mr. Jones, you are in for a rude awaking, | had to wonder if his own sleep
was untroubled. Perhaps if I reminded him of the redemption demonstrated in one of the most
famous and beloved stories in the English language, Charles Dickens’ A Christmas Carol, it
might serve as a catalyst for his own redemption. Mean-spirited Ebenezer Scrooge experienced a
rude awaking from the clank of his former business partner, Jacob Marley’s chains. At the time
of my April 09" letter to Mr. Hoses, “only” 16,000-20,000 Americans had died from COVID. I
urged him to read Quammen’s Spillover. And I quoted a portion of the Supreme Court’s decision
of three days earlier, in 18-882, Babb v. Veterans Administration, in favor of Babb, in an age
discrimination case, with “only” circumstantial evidence, stating: “..the Federal government
should be held to a higher standard of conduct that the private sector...” There was only
silence from Michael H. Hoses. | tried again on May 08, when the figure for COVID deaths in the
United States was 75,000. | again urged him to hear “Marley's chains,” even providing yet
another example from the media. Again, silence. This month, we will cross the quarter million
mark, based on a true measure of the impact of COVID, and are on a straight-line trajectory to
half a million, sometime this winter.

Bill Gates, along with his wife, Melinda Gates, have tried to improve the world with some of the
money we have provided them, in part, by writing this very letter, with the tools they have
provided us. He is the one who predicted that 30 million will die, worldwide. His comments on
the on-going catastrophe are generally low-key, but one can sense his frustration with our

 
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collective response in the United States. One time he said that no abstract number would be
high enough for people to realize that this is serious, be it 500,000 or 5 million. He said it would
take a personal experience with the devastating effects of the disease to get some people to act,
which may be having an intubation tube crammed down your throat by a second-year medical
student (yes, we could get down to that) who miscalculated the amount of sedation you
received, by a magnitude, on the low side.

The “what if’s” of history. They are frequently in the epilogue section of an historical account.
The “what ifs” range from the “for the lack of a nail, a shoe was lost... et al.,” variety to if a single
person had changed his position. “What if’ a single person in the American State Department
had answered one of the six letters Ho Chi Minh had sent it in 1946, essentially saying that he
liked the United States, fashioned his own Declaration of Independence after ours... all he
wanted to do was to get rid of the French colonists, who, after all, had collaborated with the
Japanese during World War II, whereas, he had fought on the side Americans... would there have
been an American War in Vietnam? “What if” Michael H. Hoses had taken that 15 minutes in
the summer of 2015, and decided that the Federal government should be held to a “higher
standard” or even, just the same standard as anyone else, and when they admit to illegal age
discrimination, that they should not be aided and abetted by a mean-spirited, “no-holds-barred”
defense from the US Attorney’s office? Furthermore, as a law enforcement official working for
the Department of Justice, “what if” he reviewed the evidence, including the report from Korn-
Ferry that indicated the systemic use of Prohibited Personnel Practices within HHS and decided
to report the entire matter to the Inspector General, HHS? Didn’t Inspector Genera! Gregory
Friedman, of the Department of Energy, investigate the systemic use of Prohibited Personnel
Practices at the Bonneville Power Administration in 2013? And when he found that PPP’s were
used in 49% of the cases, covering 1200 hires over three years, it lead to the replacement of the
top six administrative personnel at Bonneville.

But no one has claimed that PPP’s at Bonneville have killed people. The same claim cannot be
made about HHS. “What if” Mr. Hoses had listened to, and acted upon the pleas of the capable
and conscientious physicians within the CDC, such as Drs, Lowrance and Armstrong, both of
whom were clearly fed-up with the incompetent “friends and relatives” (to quote from Korn
Ferry) of existing employees who were being shoved down their throats, without any sedatives?

if constructive action had been taken in 2016, to ensure that the laws governing the hiring
process were really observed, then perhaps there would have been HHS employees in early
2020 who would have refused to visit quarantined cruise ship passengers in California without
any form of protective gear or even any form of protocols, and who then returned to their hotel
rooms, and later their airplanes to spread COVID throughout the United States. if..perhaps

 
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there would have been competent and conscientious employees who would have shipped
proper, functioning and sufficient uncontaminated test kits to the earliest COVID sites, thereby
greatly enhancing the possibilities of containment, just like some other countries did, for
example South Korea. /f...perhaps there would have been someone other than Brian Harrison,
who had absolutely no public health experience and no public health training, but had been a
dog breeder for six years prior to being the person placed in charge of the entire American
response to COVID for two very critical months, last winter, as it com menced. if...perhaps there
would have been a CDC Director who would not have offered reassurances to the American
people in early 2020 that COVID represented a “low threat” to Americans and would have cared
that PPP’s were endemic in the human resource function of his agency.

“What ifs,” are generally, as indicated above, in the epilogue, after the entire historical event has
been completed. The posited “what ifs” in the above paragraph are properly placed at the end
of the first chapter of this on-going catastrophic pandemic. Today there is another “what if.”
Reasonable people in the health care field would probably concede that by next winter half a
million Americans will have died, as a result of the COVID pandemic, thus more deaths than all
the deaths of American soldiers during World War Ii. Today we can decided to undertake
constructive action to reduce the next 500,000 deaths. Or, we can do nothing.

Another very big /f..perhaps that is extremely topical is George Floyd. A long time ago, in Los
Alamos, New Mexico, some of the most brilliant minds of their generation worked out the
meaning of “critical mass” on a chalk board and turned it into reality at Trinity site, and within a
month, 75 years ago, yesterday, turned it into a more horrific reality at Hiroshima, Japan,
thereby bringing an end to the Second World War. Again, again, and yet again, unarmed black
men have been killed by the police, disproportionately so, compared to other men (and some
women) who are of other races. Why did George Floyd’s murder by a police officer hit “critical
mass,” in the nation’s and world’s conscious?

Exhibit 44 in the referenced case concerned Houston police officer Gerald Goines and his arrest
for murder. Like Hoses, Goines didn’t believe the truth mattered in the law enforcement process
either. He “cut a deal” with an individual charged with a drug offense, had that individual sign a
false affidavit, like some of the false ones in my cases, and on that basis took the affidavit to a
judge who authorized a “no-knock” raid, whereby law enforcement can break down your front
door, enter your home, and kill you. The raid in Houston was a rude awaking for Dennis Tuttle
and his wife, Rhogena Nicholas, who were murdered by the police. Ms. Kim Ogg, the District
Attorney for Houston, per Exhibit 44, said: “Gerald Goines was the only witness to the alleged
crime... And we’ve already determined that Gerald Goines’s credibility is bad, that he’s a liar and
that we know he frames people for crimes.”

 

 
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What we now know is that Gerald Goines was the man who framed George Floyd in 2002 on
drug charges, which led to an 11 month prison sentence, his first, and introduced him to the
underbelly of American society and a life outside the law, which had so failed him. indeed, if the
police and judges had listened to complaints about Gerald Goines prior to 2002, that he was a
liar and would frame people for crimes, and taken action, perhaps George Floyd would be alive
today. Ms. Ogg has now ordered a review of every case which involved Geraid Goines, with the
assumption that any conviction was achieved fraudulently.

While Goines is the concern of the court in Houston, Michael H. Hoses is directly the concern of
the Federal District Court in Albuquerque. This Court has the hard evidence, in the form of the
deposition taken of me in 2016, of Hoses’ open mockery of the idea that the truth might matter
in the legal process, as is quoted above. (His statements are so damning that it is the reason why
he instructed Jim Glisson and Janice Madrid to determine HOW | actually had a copy of my own
deposition, or, did | “only” have cell phone pictures of it, to quote Jim Glisson). Furthermore, as
“undisputed facts” in the reference case, the Court has a sampling of the egregious lies Hoses,
and his ever-so-faithful handmaiden, Erin Langenwalter, have told this court. In addition, you
have their open defiance of legitimate court orders, all of which should provide a sufficient basis
for the Court to review every case involving the Hoses-Langenwalter duo.

Four decades ago | read Jean-Paul Sartre’s trilogy, Roads to Freedom. I've been most impressed
with the first volume, aptly entitled The Reprieve, which concerns the week that Neville
Chamberlain went to Munich, and agreed to Hitler’s “last territorial demand in Europe,” the
Sudetenland, thereby gaining one more year of peace, before the catastrophe of World War Il
was unleashed, in Europe, in 1939. Ironically, given the above, about rude awakenings and
thoughts of Hoses own “troubled sleep,” perhaps, or perhaps not, due to “Marley's chains,” the
English title used for volume three is: “Troubled Sleep.” There are only nine reviews of this book
posted at Amazon; mine is one of them, posted in 2011. | did not feel Sartre’s third volume was
of the quality of the first volume, and said so in the review, but | have always been most
impressed with the cover. Below is a scanned copy of mine, from the days when quality
paperbacks were $1.95:

 

 

 
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I, but lucid, free fighters? —Henri
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There is the man with the unfocused “thousand yard stare” which is what they called Post
Traumatic Stress Disorder in WW I; another man with a look of utmost consternation and a
woman crying. How, oh how could this have befallen us? The obelisks in every French village
that list the names of those who “Mort Pour La France.” The French fought for every centimeter
of their soil in “the Great War.” And now, the Germans broke through, again, at Sedan, precisely
where they had broken through in 1870, capturing Emperor Napoleon III on the battlefield,
ending the Second Empire. After both breakthroughs the Germans were in Paris in under a
month. A history lesson, again.

Peyre’s blurb on the back captured the essence of the novel’s theme: “...from apathy... (to)
revolting against fate.” Is our fate a million dead? Or two million? The pandemic of 1918-19
killed 3% of the world’s population. Like the French, virtually all Americans had forgotten a vital
lesson of history that public health disasters kill far more people than wars. Regrettably |! am
increasingly see that “thousand yard stare,” from people utterly fed up with social distancing
and wishing it would all “just go away.” And | sense that our political leadership, on a bipartisan
basis, has that same “stare,” clueless as to what to do. And | fear that more than one woman will

 

 
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be crying after they decide to accept the judgment of Governor Mike Parson, of Missouri, who
said that the kids should go back to school, yes, they will contract COVID, but they will then go
home and “get over it.”

{ commenced this rather lengthy letter with one human face, that of Landon Fuller, of Hobbs,
New Mexico, an 11-year old boy who liked to go outside and play and who will now never see
his 12" birthday. It stirred some aging neurons, and | can recall growing up in the green hills and
dales of Western Pennsylvania, in a suburb of Pittsburgh, during the “Eisenhower ‘50’s.” It was
not a perfect time, for sure. Legal racial segregation was very much part of the American
landscape. | was a member of a religion that judged women based not on their brains and
accomplishments, but on their “purity,” and stressed that it was “their fault” that we no longer
lived in the Garden of Eden, but assured me that, although they were weaker vessels, they too
had souls, like us men. And it was literally a crime to perform the act of love with someone of
the same gender or a different race. But as James Agee once wrote, “I lived there so successfully
disguised to myself as a child.” So, | was largely unaware of some of the downside, or thought it
was just part of the “natural order of things.”

| did know that | never needed a key to get in our home, because the front door was never
locked. During the long glorious days of summer | was free to roam as far as my legs, or my bike
could take me, and sometimes that was many miles. Free to climb the cherry tree and conduct
my own harvest. A fear was crossing a field and flushing out a pheasant, and have it flap its
wings in an enormous scary rush. Scheduled little league games were not enough, pick-up games
most every day. Work? Of course, that too was part of the natural order of things, newspapers
to be delivered, lawns mowed and snow shoveled, all for that vital spending money. Saving
enough quarters it was possible to purchase a box seat ticket to see the Pittsburgh Pirates play
in Forbes Field, for three bucks {only 50 cents in the bleachers.) Personal electronic devices? |
survived — well, even — without them.

Hopefully my own remembrances have stirred a few of your own neurons. There are ample
reasons to review these cases and undertake constructive action. A stern look over the top of
your glasses, asking Mr. Hoses to explain his conduct, even why he thinks the truth is irrelevant
in the judicial process, might be the catalyst for his own redemption, and might even ease his
own “troubled sleep.” An order to the New Mexico State Police, telling them to lift the ban
placed on me, prohibiting the writing of this very letter, informing them that our Constitution
has a First Amendment and telling them they must correct their false police report on me, which
is definitely of the “framing” genre of Gerald Goines.

 

 
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The Federal District Court of New Mexico is in a very unique position to save the lives of the
hundreds of “Landon Fullers” in the second half million, who might die, or might not, ail
depending on our actions today. It takes only 15 minutes for the Court to decide to rule that the
HHS agreement with WHO is illegal and affirm that individuals who are over the age of 59 should
not be thrown on the “discard pile” and prohibited from employment due solely to their age.
Even our own Governor might appreciate an affirmation that she is capable of meaningful work,
despite the fact that she is over 59. It might take an entire day to review the hard evidence from
the Korn-Ferry and the Merit System Protection Board reports and all the emails and
documents, and if necessary, listen to selected portions of previous hearing transcripts, to
conclude that the use of Prohibited Personnel Practices is deeply-rooted within HHS and has
caused serious damage to its ability to perform its mission, which has resulted in the deaths of
American citizens.

We need a strong effective national public health agency. At present, we do not have one. By
serendipity, the Federal District Court in Alouquerque, New Mexico has been provided an
excellent opportunity to undertake the constructive action that could be transformative in
providing the entire nation that much-needed strong effective agency. !f the Court requested
that the inspector General, HHS, carried out a proper investigation of hiring practices at HHS,
identical to the one conducted by DOE Inspector General, Gregory Friedman, at the Bonneville
Power Administration, it would carry much weight. Given the urgency and importance of such an
investigation, and his experience in the matter, perhaps Mr. Friedman might be lured out of
retirement for a few months to conduct the investigation.

Conclusion and Requested Action

Now that | am familiar with the slur, Pro Se, | am also familiar with the term en banc. The most
catastrophic event of our entire lives, the COVID-19 pandemic is directly related to the issues
that | have brought to this court. If there was ever a time more than one judge should carefully
review a case, then COVID-19, the almost certain half a million American dead as a result, and
the very real potential for another half a million, justifies the review by at least three senior
Federal District judges, which is not quite en banc, but should be sufficient.

| am requesting that | be able to make a one-hour presentation, and would welcome questioning
thereafter. In that one hour | would briefly describe my 30 years of senior public health
experience and how that might be utilized to reduce the ultimate death toll in the most
catastrophic event of our lifetimes, even though | am over the age of 59, which is an issue that
has never been reviewed by anyone. Americans can reduce the impact of this virus, as other

 

 
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nations have, but we must move from apathy to revolting against the possible fate of one or two
million dead. Furthermore, | would want to discuss within that hour the egregious misconduct of
certain members of the US Attorney’s office, which includes armed visits to my home and the
law enforcement order not to write this very letter. | am requesting that Michael H. Hoses, Erin
Langenwalter, John Anderson, James Tierney, Jim Glisson and Janice Madrid be ordered to
attend. They would be free to rebuttal my statements and be available for the Court’s own
questions, and certainly the first question should be to Jim Glisson, asking him why he returned
to my home on the evening of July 11", after making the determination that | was no threat to
anyone only three weeks earlier.

As a basis for such action, the Court has ample legal precedence. For example on April 06, 2020,
the Supreme Court published its opinion in case 18-882, Babb v. Veterans Administration. The
Supreme Court ruled in favor of Babb, in a case involving circumstantial evidence of age
discrimination. On page 03 of the ruling, it specifically confirmed that the Federal government
should be held to a higher standard of conduct that the private sector, meaning that in
particular, HHS should not be practicing illegal age discrimination. This case was not available to
Judge Ritter when he made his recommendation.

Furthermore, there is the long-standing Supreme Court decision in the United States v. Oregon,
366 U.S. 643, 647 (1961)), by which the Supreme Court recognized that the “solicitude of
Congress for veterans is of long standing.” Deciding an issue concerning judicial review of
veterans’ claims under a law enacted in 1988, the Court noted that that solicitude was “plainly
reflected in [that law] as well as in subsequent laws that place a thumb on the scale in the
veteran’s favor in the course of administrative and judicial review. (Emphasis added). The
“thumb” is a suitable metaphor for finally permitting this one highly qualified combat veteran to
have one hour of the judges’ attention.

There is also the cri de Coeur of Federal District Judge Carlton Reeves of Jackson, Mississippi who
wrote a blistering 72-page decision, in the case of Jamison v. McClendon, 3:16-CV-595-CWR-LRA,
_ decided on August 04, 2020, essentially requesting that since “qualified immunity” is so wrong,
since it is actually “absolute immunity,” that the Supreme Court should toss into the dustbin of
judicial history, just like Plessy v. Ferguson once was. There should not be two classes of
American citizens, very separate and unequal, with one set Jegailly entitled to murder, and the
other set, not. '

And there is also the long-standing legal precedence of four Federal judges of the Fifth Circuit
Court of Appeals, Richard T. Rives, Elbert P. Tuttle, John Minor Wisdom and John R. Brown, four
“unlikely heroes,” as author Jack Bass calls them, in his eponymously named book. These four

 
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judges had the courage and determination that broke the back of legal racial segregation in the
South. In particular, it was the legal opinion of Judge Brown that the government itself should be
heid to a higher standard in obeying its own laws.

Finally, there is the admission and admonition of Supreme Court Chief Justice John Roberts who
admitted the Court system does not have a goed system for policing misconduct within its own
ranks and appointed a commission to determine how the Court system could do better. The
most immediate catalyst for Judge Roberts’ decision and action was the extreme misconduct of
former Chief Justice of the 9° Circuit Court of Appeals, Alex Kozinski, who maintained a
substantial cache of pornography on the Court’s computer system that was freely available for
the public to view. He would call the young female clerks, some of the “best and brightest,” top
graduates of Stanford and UC Berkeley, into his office, show them the pornography, ask them if
it turned them on, with the clear implication that if they wanted a good recommendation, they
better put out, or get out, as it is phrased in the vernacular. Former Judge Kozinski judged his
female law clerks not on their brains or accomplishments, but rather their “purity,” or,
preferably, their lack of same. It did resonate with my own religious training that | had very long
ago tossed in that proverbial dustbin of history, as being deeply wrong. He destroyed the legal
careers of several of the women who demurred to his requests. He has never been punished for
this outrageous behavior, being of the class of American citizens who have absolute immunity
from prosecution for breaking our laws.

The senior judges of the Federal District Court in Albuquerque should want to know why Mr.
Hoses’ former colleague of 19 years, former AUSA Laura Fashing, did not recuse herself in my
case and saw nothing the matter with the way Hoses conducted himself in the deposition
process. Likewise, the senior judges should want to know why Magistrate Judge Kirstan Khalsa
turned over the keys to her chamber, in a metaphorical sense, to AUSA Erin Langenwalter,
permitting her to defy two legitimate court orders, and perhaps even having Langenwalter write
the order quashing the order requesting an explanation. Finally, the senior judges should want
to know why Magistrate Judge Jerry Ritter does not even address the fact that armed law
enforcement have been to my home on multiple occasions, despite my numerous protests, to
threaten me, including with arrest if | continue to pursue my legal rights in the judicial process
and why Judge Ritter did not order the NM State Police to end their unlawful ban on me which
prohibits the writing of this very letter, and why he refused to address the fact that the Hoses-
Langenwalter duo had repeatedly lied to him in official court proceedings.

Even more important that all the above legal precedence, the visceral reason why you should
grant this request is in the memory of a boy from Hobbs, New Mexico, Landon Fuller, who only
wanted to play outside with his friends, and now will never see his 12" birthday. My parents

 

 
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were part of what has been dubbed “the greatest generation,” those who survived the Great
Depression and helped win the Second War World. Their actions and achievements provided a
world whereby | could safely climb that cherry tree. We are now entering the Second Great
Depression and it is obvious that we are currently failing not only ourselves, but the younger
generation of “Landon Fullers.” We should not be known to history as the worst generation.

| am not the enemy. COVID-19 is.

When those two straightforward declarative sentences are declared “undisputed facts” in
Federal Court in Albuquerque, then a critical first step will have been made to move from apathy
towards constructive action to avoid the fate of one million dead, and another million living but
maimed, having suffered serious injury from the disease. When | think how quickly the United
States government acted, in requesting my services, despite my almost zero knowledge of
medicine, after the perceived national crisis of the Tet offensive, and now the complete lack of
action, despite my 30 years of senior level experience, and my even longer period of study in
public health, in a very real national crisis that is at least ten magnitudes greater, it provides one
solid indicator why the United States continues to lead the world in COVID cases and deaths.

The Federal Court in Albuquerque, New Mexico is in a key position to change that by
undertaking the first steps that would provide the United States with a strong effective public

health agency.

Please give me a cail so that a suitable hearing date can be determined. Thank you.

Very truly yours

John P. Jones IT

 
